           Case: 1:16-cr-00107 Document #: 135 Filed: 11/06/19 Page 1 of 3 PageID #:419
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         UNITED STATES OF AMERICA
                                                    No.   16 CR 107
                     v.
                                                    Violation: Tit1e 18, United States
         GABRIEL ROSAS,                             Code, Section 922(e)O) and Title 21,
         also known as "Gabe"                       United States Code, Section 8a1(a)(1)

                                                    SUPERSEDING INDICTMENT
                                                                                JUDGE VUOOD

                                                                  II4AGISIRAIE
                                            CoUNT    oNE                         JUDGE GITBEPI

               The SPECIAL JANUARY 2}lg GRAND JURY charses:

               On or about December 3L, 20'L4, at Joliet, in the Northern District of Illinois,

        Eastern Division,


                              GABRIEL ROSAS, also known as "Gabe,"


        defendant herein, knowing that he had. previously been convicted of           a   crime

        punishable by a term of imprisonment exceeding one year, did knowingly possess, in

        and affecting interstate commerce, a firearm, namely, a 9mm, Bryco Arms, Model        -
        Jennings Nine, bearing serial number L362077, which fi.rearm had. traveled in

        interstate commerce prior to the d.efend,ant's possession of the firearm;

               In violation of fitle 18, United States Code, Section 922(d$).
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                                     COUNT TWO

      The SPECIAL JANUARY zOLg GRAND JURY further charges:

      On or about March 18, 2015, at Joliet, in the Northern District of lllinois,

Eastern Division,


                      GABRIEL ROSAS, also known as "Gabe,"


defend"ant herein, knowing     that he had previously been convicted of a       crime

punishable by a term of imprisonment exceeding one year, did knowingly possess, in

and affecting interstate commerce, a firearm, ngmely, a Phoenix Arms pistol, model

HP22A, .22 caliber, bearing serial number 4406046, and a Rohm .22 caltber revolver,

bearing serial number   t}47tl5, which fi.rearm had traveled in interstate   commerce

prior to the defendant's possession of the fi.rearm;

      In violation of Tit1e 18, United States Code, Section 922(g)(1).
   Case: 1:16-cr-00107 Document #: 135 Filed: 11/06/19 Page 3 of 3 PageID #:421




                                  COUNT THREE

      The SPECIAL JANUARY 20tg GRAND JURY further charges:

      On or about March l-8, 2015, at Joliet, in the Northern District of Illinois,

Eastern Division,

                      GABRIEL ROSAS, also known as "Gabe,

d.efendant herein, did knowingly and intentionally distribute a controlled. substance,

namely, a mixture and substance containing a d.etectable amount of cocaine, a

Schedule   II Controlled Substance;

      In violation of Title 21, United States Code, Section 8a1(a)(1).



                                              A TRUE BILL:



                                              FOREPERSON



UNITED STATES ATTORNEY
